                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


METROPOLITAN TRANSPORTATION AUTHORITY
and TRIBOROUGH BRIDGE AND TUNNEL
AUTHORITY,

                                  Plaintiffs,
                                                            Case No. 25 Civ. 1413 (LJL)
       and

NEW YORK STATE DEPARTMENT OF                                NOTICE OF MOTION FOR A
TRANSPORTATION, RIDERS ALLIANCE, SIERRA                     PRELIMINARY INJUNCTION
CLUB, and NEW YORK CITY DEPARTMENT OF                       BY THE METROPOLITAN
TRANSPORTATION,                                             TRANSPORTATION
                                                            AUTHORITY, THE
                                  Intervenor-Plaintiffs,    TRIBOROUGH BRIDGE AND
                                                            TUNNEL AUTHORITY, AND
                           v.
                                                            NEW YORK CITY
SEAN DUFFY, in his official capacity as Secretary of        DEPARTMENT OF
the United States Department of Transportation,             TRANSPORTATION
GLORIA M. SHEPHERD, in her official capacity as
Executive Director of the Federal Highway
Administration, UNITED STATES DEPARTMENT                    ORAL ARGUMENT
OF TRANSPORTATION, and FEDERAL HIGHWAY                      REQUESTED
ADMINISTRATION,

                                  Defendants.



       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in Support

of Plaintiffs the Metropolitan Transportation Authority (“MTA”) and Triborough Bridge and

Tunnel Authority (“TBTA”) and Intervenor-Plaintiff New York City Department of

Transportation’s (“NYCDOT”) Motion for a Preliminary Injunction, the Declaration of D.

Brandon Trice dated May 5, 2025, the Declaration of Kevin Willens dated May 5, 2025, the

Declaration of Allison C. de Cerreño dated May 4, 2025, the Declaration of William Carry dated

May 5, 2025, and all other papers, pleadings, and proceedings herein, Plaintiffs MTA and TBTA
and Intervenor-Plaintiff NYCDOT will move this court on May 28, 2025 before the Honorable

Lewis J. Liman, United States District Judge, at the Daniel Patrick Moynihan United States

Courthouse for the Southern District of New York, 500 Pearl Street, New York New York 10007,

at a date and time to be determined by the Court, for an order pursuant to 5 U.S.C. § 705 and Rule

65 of the Federal Rules of Civil Procedure staying and preliminarily enjoining Defendants from:

           1. Taking any actions to enforce compliance with or implement the February 19, 2025

               letter from Defendant Duffy to Governor Hochul purporting to terminate the VPPP

               Agreement and rescind federal approval for the Central Business District (the

               “February 19 Letter”), including but not limited to enjoining Defendants from

               implementing the “compliance measures” detailed in Defendant Duffy’s April 21,

               2025 letter to Governor Hochul (the “April 21 Letter”);

           2. Taking any further agency action founded on the February 19 Letter or the April 21

               Letter;

           3. Withdrawing, cancelling, delaying, rescinding, or withholding any appropriated,

               authorized, obligated, committed, and/or otherwise due federal funding from

               Plaintiffs or Intervenor-Plaintiff NYCDOT in retaliation for commencing this

               action or for continuing to operate the Central Business District Tolling Program;

           4. Withdrawing, cancelling, delaying, rescinding, or withholding any appropriated,

               authorized, obligated, committed, and/or otherwise due federal funding from

               Plaintiffs or Intervenor-Plaintiff NYCDOT in the absence of constitutional and

               statutory authority and in compliance with applicable law and procedure.




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        PLEASE TAKE FURTHER NOTICE that, per the Order entered by the Court on May

4, 2025, ECF No. 77, Defendants’ opposition to the motion, if any, is due no later than May 16,

2025.



Dated: May 5, 2025                                 Respectfully submitted,
       New York, New York

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